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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION



  THE FARMWORKER ASSOCIATION OF FLORIDA,
  INC., A.M., J.L., R.M., C.A., M.M., D.M., A.C., G.D.L.,
  and M.G.,
                                                             Case No.

                 Plaintiffs,

  v.

  RONALD D. DESANTIS, in his official capacity as
  Governor of the State of Florida; ASHLEY MOODY,
  in her official capacity as the Attorney General of the
  State of Florida; NICHOLAS B. COX, in his official
  capacity as the Florida Statewide Prosecutor; GINGER
  BOWDEN MADDEN, in her official capacity as State
  Attorney for the First Judicial Circuit of Florida; JACK
  CAMPBELL, in his official capacity as State Attorney
  for the Second Judicial Circuit of Florida; JOHN
  DURRETT, in his official capacity as State Attorney
  for the Third Judicial Circuit of Florida; MELISSA W.
  NELSON, in her official capacity as State Attorney for
  the Fourth Judicial Circuit of Florida; WILLIAM
  GLADSON, in his official capacity as State Attorney
  for the Fifth Judicial Circuit of Florida; BRUCE
  BARTLETT, in his capacity as State Attorney for the
  Sixth Judicial Circuit of Florida; R.J. LARIZZA, in his
  official capacity as State Attorney for the Seventh
  Judicial Circuit of Florida; BRIAN S. KRAMER, in his
  official capacity as State Attorney for the Eighth
  Judicial Circuit of Florida; MONIQUE H. WORRELL,
  in her official capacity as State Attorney for the Ninth
  Judicial Circuit of Florida; BRIAN HAAS, in his
  official capacity as State Attorney for the Tenth
  Judicial     Circuit    of    Florida;     KATHERINE
  FERNANDEZ RUNDLE, in her official capacity as
  State Attorney for the Eleventh Judicial Circuit of
  Florida; ED BRODSKY, in his official capacity as
  State Attorney for the Twelfth Judicial Circuit of
  Florida; SUSAN S. LOPEZ, in her official capacity as
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  State Attorney for the Thirteenth Judicial Circuit of
  Florida; LARRY BASFORD, in his official capacity as
  State Attorney for the Fourteenth Judicial Circuit of
  Florida; DAVID A. ARONBERG, in his official
  capacity as State Attorney for the Fifteenth Judicial
  Circuit of Florida; DENNIS W. WARD, in his official
  capacity as State Attorney for Sixteenth Judicial
  Circuit of Florida; HAROLD F. PRYOR, in his official
  capacity as the State Attorney for the Seventeenth
  Judicial Circuit of Florida; PHILIP G. ARCHER, in his
  official capacity as the State Attorney for the
  Eighteenth Judicial Circuit of Florida; THOMAS
  BAKKEDAHL, in his official capacity as the State
  Attorney for the Nineteenth Judicial Circuit of Florida;
  and AMIRA D. FOX, as the State Attorney for the
  Twentieth Judicial Circuit of Florida,

                 Defendants.




                           COMPLAINT FOR INJUNCTIVE RELIEF
                             AND DECLARATORY JUDGMENT
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  Plaintiffs Farmworkers Association of Florida, Inc. on behalf of their organization and members,

  A.M., J.L., R.M., C.A., M.M., D.M., A.C., G.D.L., and M.G.1 (collectively, the “Plaintiffs”) sue

  Defendants Ronald D. DeSantis, Governor of the State of Florida, Ashley Moody, Attorney

  General of the State of Florida, Nicholas B. Cox, Statewide Prosecutor, and Ginger Bowden

  Madden, Jack Campbell, John Durrett, Melissa W. Nelson, William Gladson, Bruce Bartlett, R.J.

  Larizza, Brian S. Kramer, Monique H. Worrell, Brian Haas, Katherine Fernandez Rundle, Ed

  Brodsky, Susan S. Lopez, Larry Basford, David A. Aronberg, Dennis W. Ward, Harold F. Pryor,

  Philip G. Archer, Thomas Bakkedahl, Amira D. Fox, and Nicholas B. Cox, State Attorneys for the

  First, Second, Third, Fourth, Fifth, Sixth, Seventh, Eighth, Ninth, Tenth, Eleventh, Twelfth,

  Thirteenth, Fourteenth, Fifteenth, Sixteenth, Seventeenth, Eighteenth, Nineteenth, and Twentieth

  Judicial Circuits of Florida, respectively (collectively, the “Defendants”) and challenge the

  constitutionality of Section 10 of Florida’s Senate Bill 1718.

                                              I.       INTRODUCTION

           1.       Section 10 of Senate Bill 1718 (“SB 1718”), Ch. 2023-40, Laws of Fla. (“Section

  10”) unconstitutionally criminalizes the act of transporting a broad category of immigrants into

  Florida.

           2.       Upon its effective date, Section 10 put thousands of Floridians and residents of

  other States—both citizens and noncitizens alike—at risk of being arrested, charged, and

  prosecuted with a felony for transporting a vaguely defined category of immigrants into Florida.

  Families may be unable to visit each other across state lines. Parents who live near the state border

  may be unable to drive their children to medical appointments or soccer matches. Co-workers may




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   The individual Plaintiffs will be filing a separate motion for leave to proceed under their initials and to file their
  unredacted declarations in support under seal shortly after the filing of this Complaint.
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  be unable to drive each other to work. Friends may be unable to give each other rides to the grocery

  store. Churches may be unable to transport members of their congregation to religious events.

  Section 10 inflicts enormous harm on people’s ability to go about their daily lives.

            3.   Section 10 imposes criminal penalties on a person who transports an immigrant

  who “entered the United States in violation of law and has not been inspected by the Federal

  Government since his or her unlawful entry.” Ch. 2023-40, § 10, at 11, Laws of Fla. (amending

  § 787.07(1), Fla. Stat. (2022)). However, many people who entered the country in violation of

  federal immigration law have since sought or obtained immigration relief or are now otherwise

  lawfully present within the United States, but may not have been “inspected” in the relevant sense.

            4.   Section 10 is phrased in a way that could sweep in all manner of immigrants,

  including people who are lawfully present in the United States or are in the process of seeking

  lawful immigration status. The statute does not define the term “inspected” and does not explain

  what it means to be inspected “since” entry.

            5.   Section 10 includes no exceptions for the persons or entities doing the transporting.

  All amendments introduced during the 2023 Florida legislative session that would have narrowed

  the breadth of Section 10 failed, including amendments that would have exempted persons

  transporting family members, transportation by emergency service providers, faith-based service

  providers, and providers of transportation for school and extra-curricular activities. An amendment

  that would have clarified that a person who has been released into the interior of the United States

  by the federal government is presumed to have been “inspected” by the federal government also

  failed.

            6.   The United States Court of Appeals for the Eleventh Circuit has already held that

  two similar statutes in Georgia and Alabama were likely preempted because they were inconsistent


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  with the federal immigration scheme. See United States v. Alabama, 691 F.3d 1269, 1288 (11th

  Cir. 2012); Georgia Latino All. for Hum. Rts v. Governor of Georgia, 691 F.3d 1250, 1265–67

  (11th Cir. 2012). The same is true of Section 10.2

           7.       The federal government has exclusive powers over the regulation of immigration

  matters and has enacted an exhaustive framework via the Immigration and Nationality Act

  (“INA”), including with respect to the smuggling and unlawful transport of noncitizens. 8 U.S.C.

  § 1101 et seq.; 8 U.S.C. § 1324(a)(1)(A)(i)-(iv). This federal framework is comprehensive and

  does not permit parallel or supplemental state immigration laws, including laws regarding the

  smuggling and unlawful transport of noncitizens.

           8.       Section 10 goes far beyond the federal scheme, penalizing a wide array of conduct

  that Congress chose not to prohibit. It impedes the federal immigration scheme by preventing

  immigrants from entering Florida. And it puts state officials in the unlawful position of making

  complex determinations about people’s immigration status and history. Section 10 is preempted

  on multiple grounds.

           9.       Section 10 is also hopelessly vague and incoherent, because Floridians and travelers

  into Florida have no way to know which people fall within its terms—particularly, who will be

  considered to not have “been inspected by the Federal Government since his or her unlawful

  entry.” That category does not appear anywhere in federal law and is undefined in Section 10.

  Immigration processes are complex and highly variable; Section 10 provides no guidance

  regarding which of the tens of millions of noncitizens in the United States are covered by its




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   Prior to Senate Bill 1718’s passage into law, the Florida Senate Staff Analysis explicitly recognized that Section 10
  may well be preempted by federal law, noting that “[t]o the extent that the expansion of the offense of human
  smuggling is similar to the Arizona’s S.B. 1070, it may be preempted by federal law.” See Professional Staff of the
  Comm. on Rules, Florida Senate, Bill Analysis and Fiscal Impact Statement 28 (Mar. 17, 2023),
  https://www.flsenate.gov/Session/Bill/2023/1718/Analyses/2023s01718.rc.PDF.
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  draconian criminal penalties. It fails to provide Floridians with even basic information about what

  conduct is actually proscribed, and it invites arbitrary and discriminatory enforcement.

            10.   This action challenges Section 10 to prevent imminent harm that Plaintiffs and

  other Floridians, including both U.S. citizens and noncitizens, will suffer as the law goes into effect

  and is implemented. Plaintiffs seek injunctive and declaratory relief to bar such egregious

  unconstitutional actions from occurring in their communities.

                                II.     JURISDICTION AND VENUE

            11.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

  § 1331, because this action arises under the U.S. Constitution and laws of the United States, and

  pursuant to 28 U.S.C. § 1343, because this action seeks to redress the deprivation, under color of

  state law, of Plaintiffs’ civil rights and to secure equitable or other relief for the violation of those

  rights.

            12.   This Court has jurisdiction to grant declaratory relief pursuant to 28 U.S.C. §§ 2201

  and 2202, and Federal Rule of Civil Procedure 57.

            13.   Venue is proper in the Southern District of Florida under 28 U.S.C. § 1391(b),

  because a substantial part of the events or omissions giving rise to the claims occurred or will occur

  in this District or Division and a substantial number of Plaintiffs are located in this judicial district.

  Defendants are sued in their official capacity. Each Defendant resides within the State of Florida.

                                             III.    PARTIES

                                               PLAINTIFFS

            14.   Plaintiff Farm Worker Association of Florida, Inc. (“FWAF”) is a non-profit

  organization with headquarters in Apopka, Florida, with offices throughout the state, including in

  Homestead, Fellsmere, Immokalee, and Pierson.


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         15.     FWAF is a grassroots and community-based farmworker membership organization

  with nearly 12,000 members.

         16.     FWAF’s mission is to support and build power among farmworker and rural low-

  income communities. FWAF’s programs focus primarily on encouraging farmworkers’ civic

  participation, building farmworker coalitions, supporting worker’s rights, improving working

  conditions, and safeguarding farmworkers’ health and safety.

         17.     FWAF serves seasonal workers as well as migrant workers who travel with the

  seasons to harvest crops. To do so, FWAF’s members travel back and forth between Florida,

  Georgia, and Alabama, crossing back into Florida multiple times per year.

         18.     FWAF’s members include immigrants who are both documented and

  undocumented, including many who live permanently in Florida.

         19.     FWAF’s members include immigrants who, if transported back into Florida

  following seasonal work elsewhere, would trigger a felony charge for the person transporting or

  traveling with them.

         20.     Many of these members entered or remained in the United States unlawfully, and

  now have a wide range of immigration statuses and histories. For example, FWAF members

  include: naturalized citizens, asylees, lawful permanent residents (“LPR”), humanitarian parole

  recipients, holders of a visa for temporary agricultural workers (“H-2A visa”), recipients of

  Deferred Action for Childhood Arrivals (“DACA”), holders of Temporary Protected Status

  (“TPS”), recipients of Special Immigrant Juvenile Status (“SIJS”), former unaccompanied minors

  who were released to relatives or sponsors and were permitted to stay in the U.S. under the custody

  of the Office of Refugee Resettlement (“ORR”), federal protection beneficiaries, such as persons

  covered under the Violence Against Women Act (“VAWA”), holders of a visa for Victims of


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  Human Trafficking (“T visa”), holders of a visa for Victims of Criminal Activity (“U visa”), and

  persons possessing orders to withhold and/or defer their removal.

         21.     FWAF members also include people who have submitted applications for a wide

  range of immigration benefits that have yet to be resolved, people who are currently in removal

  proceedings, people who have been released from federal custody with and without federal notices

  to appear, and people who entered unlawfully and have not subsequently had contact with federal

  immigration authorities.

         22.     Some of these FWAF members entered the United States unlawfully and have since

  obtained lawful status. Others entered lawfully, such as with a visa, but are now no longer lawfully

  present.

         23.     Some members of FWAF lack the identity documents necessary to establish a

  presumption of lawful status or do not regularly carry these documents when traveling into Florida

  and are therefore at risk of lengthy detention and investigation under Section 10.

         24.     Many of FWAF’s members will be directly harmed by Section 10, as they either

  transport people into the state of Florida whose immigration status could trigger a felony charge

  under Section 10, or they themselves have the immigration status that could trigger such a felony

  charge, and therefore may be unable to receive transportation.

         25.     One FWAF member, a U.S. citizen, regularly transports fellow members (mostly

  co-workers) into Florida to obtain work during the planting and harvesting seasons. This U.S.

  citizen member regularly transports another member who initially entered the United States

  unlawfully and has since obtained lawful immigration status. This member obtained lawful

  immigration status without ever being “inspected,” as that term is typically used in the INA, and

  is now lawfully present in the United States. The FWAF member now fears that the otherwise


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  perfectly legal act of providing transport to his fellow FWAF members and co-workers could

  expose him to felony charges.

         26.     Another FWAF member also regularly transports fellow members out of and into

  Florida based on the harvest seasons. This member regularly transports another member who

  initially entered the United States unlawfully several years ago and has had no contact at all with

  any immigration officials since his unlawful entry. The FWAF member now fears that the

  otherwise perfectly legal act of providing transport to his fellow FWAF members and co-workers

  could expose him to felony charges.

         27.     Another FWAF member also regularly transports fellow members, and others, into

  Florida to obtain work during the planting and harvesting seasons. This member regularly

  transports another member who entered the United States unlawfully and is currently in removal

  proceedings. The FWAF member now fears that the otherwise perfectly legal act of providing

  transport to his fellow FWAF members and co-workers could expose him to felony charges.

         28.     Another FWAF member regularly travels back and forth across the Florida/Georgia

  state line with his mixed immigration status family to visit other family members, shop, and

  vacation. The family now fears taking these regular trips will expose this FWAF member to felony

  charges.

         29.     Another FWAF member, a United States citizen, lives in Florida with her mixed

  status family. The family often travels to North Carolina to work, and then returns home to Florida.

  This FWAF member typically drives her parents, both of whom are also FWAF members, back

  into Florida. Both parents entered the United States unlawfully. One parent has had no contact

  with immigration officials since entry into the United States, and the other parent will be in the




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  process of obtaining lawful immigration status soon. The family now fears taking these trips to

  and from North Carolina will expose this member to felony charges.

         30.     Not only are individual FWAF members harmed by Section 10, but FWAF as an

  organization has and will continue to suffer harm because of Section 10.

         31.     The passage of SB 1718 has already substantially diverted scarce organizational

  resources away from FWAF’s regular activities.

         32.     FWAF has been inundated with questions and requests for assistance relating to

  travel between Florida, Georgia, and Alabama that members undertake several times a year to

  obtain work based on the planting and harvesting seasons.

         33.     FWAF staff has devoted additional time outside of their regular activities and

  objectives to training existing volunteers and new volunteers on Section 10 and its impact on their

  members and the broader immigrant community.

         34.     Since SB 1718 passed, and even before Section 10 went into effect, FWAF began

  providing Know Your Rights presentations to specifically prepare for and educate their members

  on the impacts of SB 1718, including Section 10. FWAF has also held member meetings regarding

  SB 1718, including Section 10, and sent out information and communications to its members and

  the immigrant community. These efforts are outside FWAF’s regular activities and have consumed

  valuable resources. These efforts are also ongoing and continue to drain valuable resources from

  FWAF that would otherwise go to encouraging farmworkers’ civic participation, advancing and

  educating the community on agroecology, building farmworker coalitions, supporting worker’s

  rights, improving working conditions, and safeguarding farmworkers’ health and safety.

         35.     FWAF staff have received more calls each day since SB 1718 passed, including

  calls with concerns regarding travel to Florida and/or travel back into Florida, taking up significant


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  staff member time, delaying and, in some instances, preventing staff members from completing

  other work necessary to the organization.

          36.     The increase in FWAF staff’s time and focus on Section 10 is driven by the needs

  of FWAF’s membership.

          37.     FWAF lacks the funds to increase its staffing to educate the community on Section

  10 and its consequences. FWAF must now divert even more resources to fundraising in an attempt

  to address this deficit.

          38.     FWAF anticipates that the community impact of Section 10, including arrests and

  detentions, will continue to divert FWAF’s resources from its core mission of strengthening

  farmworker communities through its different programs and normal organizing work.

          39.     Upon information and belief, approximately 100 dues-paying FWAF members and

  their families left Florida at the end of the harvest season in 2023. FWAF expects that many will

  not return to Florida due to the risk that Section 10 poses to its members. FWAF will lose many

  of these members, the dues from those members, and the critical in-kind donations from those

  members that help run FWAF’s programs.

          40.     Plaintiff A.M., a U.S. citizen, is one of the directors of a nonprofit organization

  based in southern Georgia. As part of her work for that nonprofit, A.M. transports individuals with

  various immigration statuses, including individuals who have never had any contact with

  immigration authorities, in her personal vehicle to see medical specialists across the

  Georgia/Florida state line to Jacksonville, Florida.

          41.     A.M. also personally transports individuals to appointments with the United States

  Citizenship and Immigration Service (“USCIS”) for fingerprinting and other services. Some

  immigrants in her nonprofit’s service area are directed to attend USCIS appointments in


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  Jacksonville, even though they reside in Georgia. Many immigrants need her assistance because

  they entered the United States unlawfully and are ineligible for a driver’s license.

         42.     A.M. now fears that she will be exposed to felony charges for performing a key

  aspect of her job, and for doing what she believes to be morally just.

         43.     Plaintiff J.L., a resident of Florida, is a field coordinator for a nonprofit

  organization based in Florida. As part of her job duties, J.L. informs workers in her community

  about their labor rights. Some of these workers are undocumented immigrants.

         44.     J.L.’s work as a field coordinator entails travel outside the state of Florida

  approximately five times per year for trainings, conferences, and workshops dealing with

  leadership, activism, and workers’ rights, among other subjects. During her trips, she often drives

  passengers, some of whom are immigrants, including undocumented immigrants. Some of these

  immigrants entered the United States unlawfully and have since obtained lawful status, such that

  they are now lawfully present even though they may have never been inspected, as the term is

  typically used in the INA. Others entered the United States unlawfully and have not had any

  contact with immigration authorities.

         45.     During her trips out of state, J.L. typically uses her personal vehicle to transport

  people to and from Florida to attend these events. J.L. will also sometimes travel as a passenger in

  a co-worker’s vehicle both into and out of Florida.

         46.     Plaintiff R.M. is a U.S. citizen and decorated veteran. R.M. is a devout Roman

  Catholic, and he faithfully ministered to the Hispanic community at St. Joseph’s Church in

  Augusta, Georgia from 2001 to 2016. He has been a permanent deacon with the Diocese of

  Savannah since 2008. He currently attends St. Theresa’s Catholic Church for worship services and




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  has served as a deacon at a local Army base where he assisted the local priest with the celebration

  of Mass.

         47.     R.M. is also the founder of a nonprofit organization in Georgia whose mission is to

  strengthen families in the Hispanic community. Aiding immigrants is a critical part of his ministry

  as a deacon and his faith as a Roman Catholic. Since 1986, he has helped many hundreds of

  immigrants with transportation in his personal vehicle at no cost. The majority of the immigrants

  he assists are undocumented and come from Latin America. Many of these immigrants entered the

  United States without having any encounter with immigration authorities, and many have not had

  any contact with immigration authorities since they entered the United States.

         48.     Although he resides in Georgia, R.M. has driven immigrants to biometrics

  appointments, asylum interviews, interviews on family-based petitions, and other immigration-

  related appointments in Jacksonville, Florida. R.M. has also personally transported immigrants

  into Florida to attend state court proceedings and to request U visa certifications with the help of

  immigration lawyers. He still receives calls from undocumented immigrants who need his

  assistance with transportation because they do not have driver’s licenses.

         49.     Plaintiff C.A. is a U.S. citizen and longtime Florida City resident who is the legal

  guardian for her grandson.

         50.     C.A.’s grandson is in the process of applying for Special Immigrant Juvenile Status.

  As a baby, C.A.’s grandson was brought to the United States by his mother, who was fleeing

  Nicaragua in fear for their lives. He and his mother did not have contact with federal immigration

  authorities upon their entry into the United States.

         51.     C.A. and her grandson have close family ties to extended family members living in

  Georgia. They have previously traveled out of Florida to visit these family members, and they


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  hope to be able to continue to make trips to visit their Georgia-based family members and other

  close family friends in the future, without fear that C.A. could face felony charges for taking her

  grandson to visit their family and returning to their home in Florida.

         52.     Plaintiff M.M. is the mother of five children, four of whom are U.S. citizens. M.M.

  entered the United States lawfully in 2002, with a border crossing card. However, she no longer

  has lawful immigration status in the United States. She has a pending immigration case before the

  Miami Immigration Court, in which she is seeking Cancellation of Removal for Non-Lawful

  Permanent Residents, a form of immigration relief, that is based upon the extreme harm and trauma

  that her U.S. citizen children would suffer if their mother were to be deported.

         53.     Plaintiff D.M. is the eldest daughter of M.M. She was born in Mexico and brought

  into the United States when she was approximately 11 months old.

         54.     D.M. applied to USCIS for DACA on October 26, 2021, and USCIS confirmed the

  agency’s receipt of her DACA application. However, due to a nationwide injunction enjoining the

  agency from granting initial DACA applications, USCIS has not taken any action to process her

  application.

         55.     Plaintiff A.C. is the 19-year-old U.S. citizen son of M.M. and brother of D.M. He

  was born in El Paso, Texas. He works as a clerk at Wal-Mart and lives with his mother M.M. and

  sister D.M., as well as his younger siblings. Because his sister D.M. does not have a driver’s

  license, A.C. is often responsible for driving her, and he often drives the family.

         56.     M.M., D.M., and A.C. lived in Texas until 2017, at which point the family moved

  to Fort Lauderdale, Florida. To make this move, they traveled together to Florida by car. They

  have family and friends living in Texas, whom they hope to travel together to visit. However, they




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  fear that D.M. or M.M.’s immigration history could mean that A.C. would face Florida criminal

  charges for human smuggling if the family travels out of state and returns to Florida together.

            57.   Plaintiff G.D.L. came to the United States from Mexico in 2007. When he entered

  the United States, G.D.L. did not have any contact with immigration officials, and he has not had

  contact with immigration authorities in the approximately 16 years that he has lived in the United

  States.

            58.   Plaintiff M.G. is married to Plaintiff G.D.L. She first came to United States from

  Mexico in 2007 when she was 15 years old. At that time, she was stopped at the border by Customs

  and Border Protection officers and forced to return to Mexico. Shortly thereafter, she again came

  to the United States. This time, she did not encounter immigration officials, and she has not had

  any contact with immigration officials in the years since.

            59.   Plaintiffs G.D.L. and M.G. work as farmworkers. Each year, to maximize the

  seasons that they work, they usually spend about six months of the year working in Florida and

  six months of the year working out of state. They travel together across states. This year, however,

  they did not leave Florida to work out-of-state because they were frightened that if they left Florida,

  they would not be able to return, due to Section 10.

                                            DEFENDANTS

            60.   Defendant Ronald D. DeSantis is the Governor of Florida. He is sued in his official

  capacity. In that capacity, he is vested with the “supreme executive power” in Florida and is

  constitutionally required to “take care that the laws be faithfully executed.” Fla. Const. Art. IV,

  § 1(a). He is also empowered to “initiate judicial proceedings” against, or “suspend from office”

  state and local officers for failure to comply with state law, including SB 1718. Fla. Const. Art.

  IV, §§ 1(b), 7(b).


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          61.     Defendant Ashley Moody is the Attorney General of Florida, the chief legal officer

  of the State. Fla. Const. Art. IV, § 4(b). She is sued in her official capacity. In that capacity, she is

  responsible for the enforcement of SB 1718. The Attorney General is required to appear in the

  courts on behalf of the State of Florida. Fla. Stat. § 16.01(4). Under Florida law, the office of

  Attorney General also encompasses the Office of Statewide Prosecution. Fla. Const. Art. IV § 4(b).

  This office has concurrent jurisdiction with state attorneys to prosecute alleged violations of certain

  criminal laws that occur or have occurred in two or more judicial circuits, including alleged human

  trafficking or smuggling crimes. See id.; Fla. Stat. § 16.56(1)(a)(15).

          62.     Defendant Nicholas B. Cox is the Statewide Prosecutor of the State of Florida,

  appointed by Defendant Attorney General Moody. See Fla. Const. Art. IV § 4(b); Fla. Stat.

  § 16.56(2). The Statewide Prosecutor has concurrent jurisdiction with state attorneys to prosecute

  alleged offenses that occur or have occurred in two or more judicial circuits, including alleged

  human trafficking or smuggling crimes. Id. at § 16.56(1)(a)(15). As Statewide Prosecutor,

  Defendant Cox has the power to, among other duties, “conduct hearings at any place in the state;

  summon and examine witnesses; require the production of physical evidence; sign informations,

  indictments, and other official documents; [and] confer immunity.” Fla. Stat. § 16.56(3).

          63.     Defendant State Attorneys Ginger Bowden Madden, Jack Campbell, John

  Durrett, Melissa W. Nelson, William Gladson, Bruce Bartlett, R.J. Larizza, Brian S. Kramer,

  Monique H. Worrell, Brian Haas, Katherine Fernandez Rundle, Ed Brodsky, Susan S.

  Lopez, Larry Basford, David A. Aronberg, Dennis W. Ward, Harold F. Pryor, Philip G.

  Archer, Thomas Bakkedahl, and Amira D. Fox are the state attorneys for the First, Second,

  Third, Fourth, Fifth, Sixth, Seventh, Eighth, Ninth, Tenth, Eleventh, Twelfth, Thirteenth,

  Fourteenth, Fifteenth, Sixteenth, Seventeenth, Eighteenth, Nineteenth, and Twentieth Judicial


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  Circuits of Florida, respectively. They are the prosecuting officers of all trial courts in their

  respective circuits. Fla. Const. Art. V, § 17.

                                             IV.     FACTS

     A. History and Intent of SB 1718

         64.      On May 2, 2023, the Florida Legislature passed SB 1718, including Section 10,

  which amends Section 787.07 of Florida Statutes.

         65.      Defendant Governor Ronald D. DeSantis signed the bill into law on May 10, 2023.

         66.      Section 10, in its entirety, provides as follows:

               (1) Except as provided in subsections (3), (4), and (5), a person who knowingly and
                   willfully transports into this state an individual whom the person knows, or
                   reasonably should know, has entered the United States in violation of law and has
                   not been inspected by the Federal Government since his or her unlawful entry from
                   another country commits a felony of the third degree, punishable as provided in s.
                   775.082, s. 775.083, or s. 775.084.

               (2) A person commits a separate offense for each individual he or she transports into
                   this state in violation of this section.

               (3) A person who transports a minor into this state in violation of subsection (1)
                   commits a felony of the second degree, punishable as provided in s. 775.082, s.
                   775.083, or s. 775.084.

               (4) A person who commits five or more separate offenses under this section during a
                   single episode commits a felony of the second degree, punishable as provided in s.
                   775.082, s. 775.083, or s. 775.084.

               (5) (a) A person with a prior conviction under this section who commits a subsequent
                   violation of this section commits a felony of the second degree, punishable as
                   provided in s. 775.082, s. 775.083, or s. 775.084.

                   (b) As used in paragraph (a), the term “conviction” means a determination of
                   guilt that is the result of a plea agreement or a trial, regardless of whether
                   adjudication is withheld or a plea of nolo contendere is entered.

               (6) Proof that a person knowingly and willfully presented false identification or gave
                   false information to a law enforcement officer who is conducting an investigation
                   for a violation of this section gives rise to an inference that such person was aware
                   that the transported individual has entered the United States in violation of the law

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                     and had not been inspected by the Federal Government since his or her unlawful
                     entry.

                 (7) A person who is arrested for a violation of this section must be held in custody until
                     brought before the court for admittance to pretrial release in accordance with
                     chapter 903.

        B. The Comprehensive Federal Immigration System Already Governs Smuggling.

           67.      The federal government has exclusive power over the regulation of immigration

  matters.

           68.      The U.S. Constitution grants the federal government the power to “establish an

  uniform Rule of Naturalization,” U.S. Const. Art. I, § 8, cl. 4, and to “regulate Commerce with

  foreign Nations,” U.S. Const. Art. I, § 8, cl. 3. In addition, the Supreme Court has repeatedly held

  that the federal government’s power to control immigration is inherent in the nation’s sovereignty.

           69.      Because immigration policies can implicate foreign relations, the United States has

  a core, constitutionally protected interest in setting a uniform federal immigration scheme. Arizona

  v. United States, 567 U.S. 387, 395 (2012).

           70.      Congress has created a comprehensive system of federal laws, agencies, and

  procedures regulating immigration. See id. at 395–96; see generally, INA, 8 U.S.C. § 1101 et seq.

           71.      The extensive statutory scheme created by the INA leaves no room for

  supplemental state immigration laws.

           72.      The INA carefully calibrates the nature—criminal or civil—and the degree of

  penalties applicable to each possible violation of its terms.

           73.      Specifically, under 8 U.S.C. § 1324(a)(1)–(2), Congress set forth the

  comprehensive federal framework penalizing the transportation of immigrants who unlawfully

  enter or remain in the United States, thus preempting any analogous state crime, including Section

  10.

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             74.   The federal scheme specifically addresses which conduct is punishable as unlawful

  harboring and transport in this context. As to immigrants who unlawfully enter or remain in the

  United States, the statute only penalizes transportation and other actions taken “in furtherance of

  such violation of law.” 8 U.S.C. § 1324(a)(1)(A)(ii) (addressing “transport”); id.

  § 1324(a)(1)(A)(iii) (requiring that the person “conceal, harbor, or shield from detection”).

             75.   The federal statute also contains detailed evidentiary rules for how transport and

  harboring crimes should be prosecuted in federal court. See 8 U.S.C. § 1324(b)(3). It also explicitly

  limits states’ role in the federal transport and harboring scheme to a specified circumstance:

  helping with arrests for violations of its criminal provisions. See 8 U.S.C. § 1324(c).

             76.   Section 10 is Florida’s own version of these provisions, passed to bypass the federal

  government’s definitions and prosecutorial and adjudicatory processes under the parallel federal

  statute—8 U.S.C. § 1324.

             77.   Section 10 enters the exact same federal field—transport of immigrants. It prohibits

  conduct that federal law does not, in part because it contains no element that the proscribed

  transport be “in furtherance” of a legal violation. And it applies to a new category of immigrants

  not recognized in the federal statute and not defined in federal law: those who have “not been

  inspected since [their] unlawful entry.” Ch. 2023-40, § 10, at 11, Laws of Fla. (amending

  § 787.07(1), Fla. Stat. (2022)). Section 10 further jettisons the evidentiary rules in the federal

  statute.

             78.   Section 10 will impede the federal immigration system by preventing people who

  live in neighboring states with a variety of immigration statuses from getting to immigration courts

  in Florida, USCIS appointments in Florida, and ICE check-ins in Florida.




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          79.      For example, the USCIS website directs immigrants residing in at least seventeen3

  counties in South Georgia to report to the USCIS Field Office in Jacksonville, Florida, for certain

  services, including capturing biometrics for national security purposes, applying for permission to

  travel outside the United States, and attending interviews for lawful permanent residence.

      C. In Enacting SB 1718, Florida Made Clear It Was Seeking to Unilaterally Regulate
         Immigration in the United States.

          80.      In enacting SB 1718, Florida legislated in an area committed exclusively to the

  federal government under the U.S. Constitution and federal statutes. Indeed, by passing Section

  10 in particular, Florida expressly intended not only to intrude into an area of exclusive federal

  control, but to oppose and supplant the federal government in key respects.

          81.      A primary motivating factor in passing SB 1718 was the Florida Legislature’s

  disagreement with federal immigration policy.

          82.      The Governor made immigration a clear legislative priority for Florida’s 2023

  legislative session when he announced his legislative proposal as a response to federal immigration

  policy: “Florida is a law and order state, and we won’t turn a blind eye to the dangers of Biden’s

  Border Crisis. We will continue to take steps to protect Floridians from reckless federal open

  border policies.”4

          83.      Likewise, Senator Blaise Ingoglia, who would go on to sponsor SB 1718, stated

  that the “Governor will not stand by idly as this open-borders agenda continues to take over our




  3
    At least one zip code in each of the follow Georgia counties is routed to the Jacksonville USCIS Field Office:
  Atkinson, Appling, Bacon, Brantley, Camden, Clinch, Charlton, Echols, Glynn, Jeff Davis, Lanier, Long, Lowndes,
  Pierce, Ware, Wayne. See U.S. Citizenship and Immigration Services, Field Offices, https://www.uscis.gov/about-
  us/find-a-uscis-office/field-offices (last updated May 17, 2023).
  4
    Press Release, Gov. Ron DeSantis, Governor Ron DeSantis Announces Legislation to Counteract Biden’s Border
  Crisis (Feb. 23, 2023), https://www.flgov.com/2023/02/23/governor-ron-desantis-announces-legislation-to-
  counteract-bidens-border-crisis.
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  families, friends and our communities. As a matter of fact, he will boldly push Florida as the

  blueprint by which other states should fight illegal immigration.”5

          84.     When SB 1718 sponsor Senator Ingoglia introduced SB 1718 he explained that he

  “want[s] to have legal immigration fixed. We want to stop the illegal immigration. We definitely

  want to stop the . . . what’s happening right now. . . . The biggest thing is a, just a federal

  immigration legal system that’s broken.”6

          85.     At the very first legislative hearing on SB 1718, Senator Ingoglia framed the need

  for SB 1718 as the “external force” that was going to get the federal government to “fix” the

  problem of illegal immigration: “This is the point we are at right now. We have to fix this . . . this

  system. And they continue to refuse to do it. They will only act when they have to and when an

  external force pushes back. Florida is that external force right now.”7

          86.     When SB 1718’s counterpart, HB 1617, was introduced in the Florida House of

  Representatives, the House co-sponsor, Representative Kiyan Michael, said, “The federal

  government we know, is not, they’re not doing the job. They’re not enforcing the laws. We have

  to do something here, in this state. And this, everything we are talking about is only pertaining to

  the state of Florida.”8

          87.     During the debates over SB 1718 and its counterpart, HB 1617, legislators

  expressly stated that the intent of the law was to disincentivize and to deter immigrants from

  coming to Florida. Senator Ingoglia said, “the focus of this bill, to make sure that we are taking



  5
    Id.
  6
    Fla. S. Comm. on Rules, recording of proceedings, at 00:51:03–00:54:46 (Mar. 15, 2023 at 3:30 PM),
  https://www.flsenate.gov/media/videoplayer?EventID=1_nty0d3lq-202303151530&Redirect=true (Sen. Ingoglia
  discussing SB 1718).
  7
    Id. at 02:10:26–02:11:11.
  8
    Fla. H. Comm. on Commerce, recording of proceedings, at 02:44:59–02:45:13 (Apr. 24, 2023 at 12:00 PM)
  [hereinafter H. Comm. on Commerce Debate], https://www myfloridahouse.gov/VideoPlayer.aspx?eventID=8882
  (Rep. Michael discussing proposed committee substitutes for HB 1617).
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  away as many of the incentives [to migrate] as possible in the hopes that other states like Texas

  and Arizona do the same and force the federal government to get off their butt and fix the

  problem.”9

            88.    Representative Rommel echoed this sentiment, stating “[w]e can’t wait on

  Washington to do their job. I’m not blaming it on any administration, but we know its broken.”10

  Likewise, Representative Michael stated, “When you talk about immigration reform, because

  Washington is not doing their job, we, it’s no excuse for us as a state to sit back and do nothing.”11

            89.    Senator Debbie Mayfield questioned whether SB 1718 would fix problems with the

  immigration system, but still voted in favor of the bill, saying, “I get what people are saying, you

  know, is this really going to fix the problem? I don’t know. We’re gonna try, but I can tell you

  what it is doing. It is bringing the attention to the rest of the people in our country that we have a

  problem, and we need to make sure that Washington knows that we have this problem and we

  want it fixed.”12

            90.    The sponsors of HB 1617 and SB 1718 provided no useful guidance as to what

  “inspection” means under Florida law. Rather, the sponsors confused matters even more. For

  example, when asked about the meaning of the term “inspection” in Section 10, Representative

  Michael responded, “[W]hen it’s referencing ‘inspected,’ that means that they have been checked

  in the system whether their immigration status is, whether their immigration status is American or

  not.”13




  9
    Fla. S. Comm. on Fiscal Policy, record of proceedings, at 06:19:50–06:20:03 (Apr. 25, 2023 at 10:00 AM),
  https://thefloridachannel.org/videos/4-25-23-senate-committee-on-fiscal-policy-part-2/.
  10
     H. Comm. on Commerce Debate, at 04:47:05–04:47:12.
  11
     Id. at 04:51:19–04:51:29.
  12
     Fla. S., recording of proceedings, at 03:49:47–03:50:08 (Apr. 28, 2023 at 10:00 AM),
  https://www.flsenate.gov/media/VideoPlayer?EventID=1_nty0d3lq-202304281000&Redirect=true.
  13
     H. Comm. on Commerce Debate, at 02:51:16–02:51:31.
                                                         20
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         91.     Contrary to long-settled law that establishes the federal government’s exclusive

  role in regulating immigration, SB 1718 reflects the view that the State of Florida should regulate

  immigration unilaterally.

         92.     All told, the history of SB 1718 in general, and Section 10 in particular, makes clear

  that the Florida Legislature enacted the law as a purported state solution to what some members

  of the legislature claimed to be problems with the federal government’s regulation of immigration.

     D. Section 10 Is Impermissibly Vague and Incoherent.

         93.     Section 10 is impermissibly vague for at least two independent reasons. First, due

  to the statute’s incoherent and potentially conflicting use of the term “inspected,” it “fails to

  provide people of ordinary intelligence a reasonable opportunity to understand what conduct it

  prohibits.” See Hill v. Colorado, 530 U.S. 703, 732 (2000).

         94.     Second, “it authorizes or even encourages arbitrary and discriminatory

  enforcement,” as local and state law enforcement have no competence to apply all the various

  nuances of federal immigration law that might be relevant to determine whether the law applies to

  a given individual. See id. (citing Chicago v. Morales, 527 U.S. 41, 56–57 (1999)).

         95.     The “void-for-vagueness” doctrine requires that a penal statute, such as the one

  amended by Section 10, “define the criminal offense with sufficient definiteness that ordinary

  people can understand what conduct is prohibited and in a manner that does not encourage arbitrary

  and discriminatory enforcement.” Kolender v. Lawson, 461 U.S. 352, 357 (1983) (collecting

  cases). Section 10 lacks any semblance of definiteness.

         96.     Under Section 10, “a person who knowingly and willfully transports into this state

  an individual whom the person knows, or reasonably should know, has entered the United States

  in violation of law and has not been inspected by the Federal Government since his or her unlawful


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  entry from another country” commits a third- or second-degree felony. Ch. 2023-40, § 10, at 11–

  12, Laws of Fla. (amending § 787.07(1), (3)–(5)(a), Fla. Stat. (2022)).

            97.    Section 10 does not define the term “inspected” or “inspected . . . since” entry.

  Section 10 does not refer to or cite any outside statutes, rules, or regulations for a definition of

  these terms.

            98.    The INA also does not specifically define “inspected” or “inspection.” Neither does

  federal law contain any classification of people who “h[ave] been inspected by the Federal

  Government since [their] unlawful entry.” Ch. 2023-40, § 10, at 11, Laws of Fla. (amending

  § 787.07(1), Fla. Stat. (2022)). While the INA addresses “inspection” in various specific contexts,

  it does not define a general set of “people who have been inspected” after entering the country.

  See id.

            99.    The failure to define a central legal term with multiple possible meanings renders

  Section 10 impermissibly vague, as there is no way for ordinary people to understand what specific

  conduct is prohibited.

            100.   Additionally, Section 10 could criminalize the transport of immigrants who are

  lawfully present in the United States, and it fails to provide guidance on which individuals are

  covered or exempted.

            101.   In the INA and corresponding regulations, the words “inspect,” “inspected,” or

  “inspection” are typically used to describe a process that occurs at a port of entry. Inspection upon

  entry is not, however, a prerequisite for immigrants to gain lawful status in the United States.

            102.   There are numerous pathways to lawful status, and ultimately citizenship, for

  immigrants living in the United States who were never “inspected” as that term is typically used

  in the INA. For example, undocumented immigrants who are victims or witnesses of certain


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  crimes—including immigrants who have never had any past contact with immigration

  authorities—can apply to USCIS for U visas, which grant them lawful presence in the United

  States based upon their cooperation with law enforcement in the investigation or prosecution of

  these crimes.14 Similarly, certain victims of domestic violence may seek lawful status by

  submitting applications to USCIS pursuant to the Violence Against Women Act.15 Furthermore,

  many forms of immigration relief granted by USCIS, including U visas and VAWA status, provide

  legal pathways for immigrants who have been granted such relief to seek and obtain U.S.

  citizenship without having been inspected, as that term is typically used in the INA.

          103.     Accordingly, the plain meaning of Section 10 could criminalize individuals who

  transport immigrants who initially entered the United States without inspection but who have since

  been granted lawful status or lawful presence without ever being “inspected,” as that term is

  typically used in the INA. In fact, it could even lead to the absurd outcome of criminalizing the

  transport of many immigrants who are now U.S. citizens.

          104.     The list of immigrants who Section 10 could apply to is vast. In addition to U and

  T visa holders and VAWA beneficiaries, it could apply to children who are beneficiaries of SIJS,

  asylees, TPS holders, and DACA recipients, among many other immigrants with lawful status or

  lawful presence in the United States. Immigrants in each of these categories could have entered

  the United States unlawfully, but later been granted lawful status or lawful presence without ever

  being “inspected,” as the term is typically used in the INA. See Sanchez v. Mayorkas, 141 S. Ct.

  1809, 1810 (2021) (unanimous decision finding a grant of TPS is not an admission and inspection,




  14
     See U.S. Citizenship & Immigration Services, Victims of Criminal Activity: U Nonimmigrant Status,
  https://www.uscis.gov/humanitarian/victims-of-criminal-activity-u-nonimmigrant-status (last updated Mar. 20,
  2023).
  15
     See U.S. Citizenship & Immigration Services, Abused Spouses, Children and Parents,
  https://www.uscis.gov/humanitarian/abused-spouses-children-and-parents (last updated Apr. 1, 2022).
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  and discussing nonimmigrant categories such as the U visa for which a grant of lawful status does

  not require an admission and inspection).

         105.    Section 10 gives no guidance as to which of these statuses or stays in the United

  States can trigger the statute’s harsh penalties. As federal law typically uses the term, people in

  many of these statuses or stays have not technically been “inspected.”

         106.    However, applicants for immigration benefits or relief could well believe that by

  applying for such benefits or relief, they are submitting to inspection by federal immigration

  officials. These applicants must submit to a federal agency (typically USCIS) lengthy applications

  detailing their immigration histories, including entries into the United States and any criminal

  misconduct in the United States. These applications must be corroborated by supporting

  documents and, in many instances, official interviews with USCIS officials. Furthermore, these

  applicants must also submit to biometrics appointments with government agents, in which they

  provide fingerprints so that their immigration and criminal histories can be checked by the agency.

         107.    Section 10 gives no guidance regarding its application to immigrants who have

  submitted applications for immigration benefits or relief to the federal government, but whose

  applications have not yet been adjudicated. Thus, even if “inspection” is construed broadly to

  include all noncitizens who have been granted immigration status, Section 10 leaves unclear

  whether it counts as “not inspected” those noncitizens whose immigration applications (whether

  for asylum, DACA, TPS, or something else) are still pending. Applications to USCIS for

  immigration relief can take between several months and many years to be adjudicated.

         108.    Similarly, it is unclear whether people who seek immigration relief in removal

  proceedings, and who the federal government has not yet found removable or decided to remove

  from the United States, are deemed “inspected” under Section 10. And the same goes for people


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  who the federal government has apprehended and released without a notice to appear in

  immigration court. Indeed, people’s immigration situations are fluid, complicated, and varied, but

  Section 10 leaves people with no idea who is covered and who is not.

          109.     On its face, Section 10 provides no information about what subsequent immigration

  history leads a person to be considered “inspected” after an unlawful entry, and federal law

  likewise fails to provide a clear answer to this question. Once a person knows, or reasonably should

  know, that their passenger entered the country unlawfully, that person is effectively stuck in a

  definitional abyss, which could determine not only criminal culpability, but also mandatory arrest

  and criminal detention—a far cry from fair notice.

          110.     Given the lack of clarity provided by Section 10 as to the meaning of the term

  “inspected,” local and state law enforcement agencies across Florida’s sixty-seven counties

  inevitably will interpret Section 10’s vague and incoherent phrasing differently, leading to

  arbitrary and discriminatory enforcement.

          111.     The INA, as amended, is the primary statute that governs immigration law. It

  controls who can enter and remain in the United States and on what terms, and dictates who is a

  United States citizen by birth, acquisition, or derivation. The statutory scheme is commonly

  deemed second only to the Internal Revenue Code in complexity.16

          112.     Despite that complexity, in order to avoid being exposed to felony charges, Section

  10 will require all Floridians and travelers to Florida to stay up-to-date on their friends’,

  neighbors’, co-workers’, and family members’ current immigration status and history. Local law

  enforcement will be required to act as immigration law experts. However, given the lack of clarity


  16
    See Castro-O’Ryan v. U.S. Dep’t of Immigr. & Naturalization, 847 F.2d 1307, 1312 (9th Cir. 1987) (“With only a
  small degree of hyperbole, the immigration laws have been termed ‘second only to the Internal Revenue Code in
  complexity.’ A lawyer is often the only person who could thread the labyrinth.” (quoting E. Hull, Without Justice
  For All 107 (1985))).
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  in Section 10 as to the meaning of the term “inspected,” even in-depth expertise in immigration

  law and a detailed knowledge of passengers’ immigration history will not suffice to ensure that

  Floridians and travelers to Florida are safe from felony arrests and prosecutions for bringing

  immigrant friends, family, coworkers, and commercial passengers into the state.

         113.     Additionally, under the INA, a noncitizen’s immigration status may be fluid and

  subject to change over time. See, e.g., Sanchez, 141 S. Ct. at 1814 (explaining how an individual

  who entered the country unlawfully could receive a U visa and be eligible to become an LPR). As

  such, law enforcement is certain to struggle to determine whether, at any given moment, a person

  has been inspected by federal immigration officials for purposes of the new state law, likely leading

  to unwarranted arrests, criminal detentions, and prosecutions.

         114.     This fluidity of immigration status is a fundamental feature of the INA that reflects

  the careful balance struck by Congress between important national and international interests,

  including the nation’s humanitarian and international law obligations regarding asylum seekers

  and refugees.

                        V.      DECLARATORY AND INJUNCTIVE RELIEF

         115.     An actual and substantial controversy exists between Plaintiffs and Defendants as

  to their respective legal rights and duties. Plaintiffs face an imminent threat of harm from the

  enforcement of Section 10.

         116.     Defendants’ enforcement of Section 10 constitutes an official policy of the State of

  Florida.

         117.     In violating Plaintiffs’ rights under the U.S. Constitution and federal law,

  Defendants have acted and will be acting under color of state law.

         118.     If allowed to remain in effect, Section 10 will cause irreparable injury to Plaintiffs.


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         119.    Plaintiffs have no plain, speedy, and adequate remedy at law against Section 10

  other than the relief requested in this Complaint.

         120.    As Section 10 takes effect, Plaintiff FWAF’s members will be subject to unlawful

  arrest, prosecution, and harassment.

         121.    Section 10 violates the Supremacy Clause because Florida law enforcement

  agencies, officials, and prosecutors will be unilaterally carrying out the functions of federal

  immigration authorities without federal authorization under the INA and in conflict with the

  federal government.

         122.    Section 10 will thwart organizational Plaintiff FWAF’s mission by forcing it to

  divert its resources away from its regular programming and organizing in order to assist members

  navigating travel and employment as a result of the law’s implementation. This undermines

  Plaintiff FWAF’s ability to advance pre-existing organizational priorities, programs, and services.

         123.    Section 10 will further thwart Plaintiff FWAF’s mission by deterring their

  members, including dues-paying members, from participating in membership activities. Many of

  FWAF’s dues-paying members have left and will continue to leave Florida, negatively impacting

  FWAF’s revenue.

         124.    Plaintiff FWAF individual members’ interests that are at stake in this case are

  germane to FWAF’s organizational purpose. Many of FWAF’s individual members can and will

  be directly harmed by the enforcement of Section 10.

         125.    In taking the actions alleged in this Complaint, Defendants will deny Plaintiffs’

  rights secured by the U.S. Constitution and federal law.

         126.    Plaintiffs are entitled to a declaration that Section 10 is unconstitutional on its face

  and to an order preliminarily and permanently enjoining its enforcement.


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                                    VI.    CAUSES OF ACTION

                                              COUNT I
                       Fla. Stat. 787.07, as amended by SB 1718, Section 10
                      Violates the Supremacy Clause of the U.S. Constitution
                                   Conflict and Field Preemption
                                 Declaratory and Injunctive Relief

         127.    Plaintiffs repeat and reallege all paragraphs above and incorporate them by

  reference as though fully set forth herein.

         128.    The Supremacy Clause of the U.S. Constitution states: “This Constitution, and the

  laws of the United States which shall be made in Pursuance thereof; and all Treaties made, or

  which shall be made, under the Authority of the United States, shall be the supreme Law of the

  Land; and the Judges in every State shall be bound thereby, any Thing in the Constitution of Laws

  of any State to the Contrary notwithstanding.” U.S. Const. Art. VI, cl. 2.

         129.    The Supremacy Clause mandates that federal law preempts state law in any area

  over which Congress expressly or impliedly has reserved exclusive authority, or which is

  constitutionally reserved to the federal government, or where state law conflicts or interferes with

  federal law.

         130.    The federal government has exclusive power over immigration law and policy.

  Congress has created a comprehensive system of federal laws regulating the transport and

  harboring of immigrants in the United States. See generally INA, 8 U.S.C. § 1101 et seq; Arizona,

  567 U.S. 387 (2012).

         131.    Section 10 departs from federal immigration law by making it a crime for anyone

  who “knowingly and willfully transports into” Florida an individual whom the person “knows or

  reasonably should know has entered the United States in violation of law and has not been




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  inspected by the Federal Government since his or her unlawful entry from another country.” Ch.

  2023-40, § 10, at 11, Laws of Fla. (amending § 787.07(1), Fla. Stat. (2022)).

         132.    The inability to transport family, friends, and co-workers into Florida for the

  agricultural growing season without risking a felony charge makes employment limited or

  unavailable to members of Plaintiff FWAF, including those who may be U.S. citizens.

         133.    Section 10 makes it a crime for U.S. citizens and noncitizens, including the

  individual Plaintiffs, to transport certain immigrants into Florida.

         134.    Section 10 regulates the terms and conditions under which both U.S. citizens and

  noncitizens alike may travel to or return to Florida.

         135.    Section 10 conflicts with federal immigration laws, regulations, and policies.

         136.    Section 10 is an obstacle to the accomplishment and execution of federal

  immigration laws, regulations, and policies.

         137.    Section 10 is an impermissible state regulation of immigration, and therefore usurps

  powers constitutionally vested in the federal government exclusively.

         138.    Section 10 is preempted under the Supremacy Clause.

         139.    Section 10 imposes immigration-related burdens and penalties on U.S. citizens and

  legal residents not authorized by and contrary to federal law, and unilaterally imposes burdens on

  the federal government’s resources and processes in violation of the Supremacy Clause.

                                           COUNT II
    Fla. Stat. 787.07, as amended by SB 1718, Section 10, Violates the Due Process Clause of
                           the 14th Amendment to the U.S. Constitution
                                       (42 U.S.C. § 1983)
                                Declaratory and Injunctive Relief

         140.    Plaintiffs repeat and incorporate by reference each allegation of the prior

  paragraphs numbered 1-126 as if fully set forth herein.


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         141.    The Due Process Clause of the Fourteenth Amendment to the United States

  Constitution provides, in pertinent part, “nor shall any State deprive any person of life, liberty, or

  property, without due process of law.” U.S. Const. Amend. XIV, § 1.

         142.    Section 10 deprives persons it subjects to its criminal provisions of due process of

  law, in violation of the Due Process Clause of the Fourteenth Amendment.

         143.    Section 10 is impermissibly vague and overbroad.

         144.    Section 10 is unconstitutionally vague because it fails to provide a person of

  ordinary intelligence fair notice of what is prohibited, and because it authorizes and encourages

  arbitrary and discriminatory enforcement.

         145.    Section 10 is unconstitutionally vague because its use of the phrase “in violation of

  law and has not been inspected by the Federal Government since his or her unlawful entry” is

  incoherent or in conflict with the INA.

         146.    Section 10 is unconstitutionally vague because the term “inspected” is not defined

  anywhere in SB 1718; nor is this term defined elsewhere in Florida law.

         147.    Section 10 exposes an individual to second- or third-degree felony charges if that

  person “knowingly and willfully transports into this state an individual whom the person knows,

  or reasonably should know, has entered the United States in violation of law and has not been

  inspected by the Federal Government since his or her unlawful entry from other country.” The Due

  Process Clause does not permit subjecting any person in the United States to criminal penalties on

  these terms because they are indeterminate, internally incoherent, or amorphous.

         148.    Such vague language authorizes and encourages arbitrary and discriminatory

  enforcement of Section 10 by Defendants against individuals, including members of Plaintiff

  organization and individual Plaintiffs.


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           149.   Under the vague, indeterminate, internally incoherent, and amorphous phrasing of

  Section 10, Floridians, including Plaintiffs, have no way of determining what conduct is

  prohibited, nor how state and local law enforcement will choose to enforce Section 10.

           150.   Plaintiffs move for relief on this claim directly under the Constitution and under

  42 U.S.C. § 1983 as an action seeking redress of the deprivation of statutory rights under the color

  of state law.

                               VII.    PRAYER FOR RELIEF

           WHEREFORE, in light of the foregoing facts and arguments, Plaintiffs request that the

  Court:

              a. Assume jurisdiction over this matter;

              b. Permit Plaintiffs A.M., J.L., R.M., C.A., M.M., D.M., A.C., G.D.L., and M.G. to

                  maintain their identities anonymous throughout the life of this matter;

              c. Declare Florida Statute § 787.07, as amended by SB 1718, Section 10, in its

                  entirety, unconstitutional;

              d. Preliminarily and permanently enjoin Defendants from enforcing Section 10 in its

                  entirety;

              e. Grant Plaintiffs’ costs of suit, and reasonable attorneys’ fees and other expenses

                  pursuant to 42 U.S.C. § 1988; and

              f. Grant any other relief as the Court may deem just and proper.

  Dated: July 17, 2023                                  Respectfully submitted,

                                                        /s/ Anne Janet Hernandez Anderson
                                                        On behalf of Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on July 17, 2023, I electronically served a true and correct copy

  of the foregoing on counsel for Defendants via transmission of a Notice of Electronic Filing

  generated by the Court’s CM/ECF system.

  By: /s/ Anne Janet Hernandez Anderson
  Anne Janet Hernandez Anderson




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